385 F.2d 419
    James Marion NORTH, James David North, a minor, by CorrineNorth, his guardian and next friend, and CorrineNorth, Plaintiffs-Appellants,v.Richard OGILVIE, Sheriff of Cook County, Raymond Doneske,and Wayne L. Kendall, Deputy Sheriffs, Defendants-Appellees.
    No. 16247.
    United States Court of Appeals Seventh Circuit.
    Oct. 18, 1967.
    
      Before CASTLE, KILEY, and CUMMINGS, Circuit Judges.
      PER CURIAM.
    
    
      1
      This court having considered the record in this case transmitted by the district court to this court as well as the briefs filed by the respective parties herein, and having heard oral arguments in open court by counsel for said parties, and having taken the case under advisement for decision, the court has conferred thereon and is now of the opinion and accordingly holds and adjudges that the judgment from which this appeal was taken is supported by the record herein and law appertaining thereto.
    
    
      2
      Wherefore the judgment from which this appeal was taken is affirmed and the clerk of this court is directed to enter the judgment of this court accordingly.
    
    